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                                 UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 1:18-CV-23125-RNS

       STATE FARM MUTUAL AUTOMOBILE
       INSURANCE COMPANY and STATE FARM
       FIRE and CASUALTY COMPANY,

       Plaintiffs,

                      v.

       HEALTH AND WELLNESS SERVICES, INC.,
       BEATRIZ MUSE, LAZARO MUSE, HUGO
       GOLDSTRAJ, MANUEL FRANCO, MEDICAL
       WELLNESS SERVICES, INC., NOEL SANTOS,
       ANGEL CARRASCO, PAIN RELIEF CLINIC OF
       HOMESTEAD, CORP., JESUS LORITES, AND
       JOSE GOMEZ-CORTES,

       Defendants.
                                                            /

         PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS BEATRIZ MUSE,
        LAZARO MUSE, NOEL SANTOS, AND MEDICAL WELLNESS SERVICES, INC.’S
                          MOTION TO STRIKE ANET PEREZ

              Plaintiffs State Farm Mutual Automobile Insurance Company and State Farm Fire and

   Casualty Company (collectively the “State Farm Plaintiffs”), hereby file this Response in

   opposition to Defendants Motion to Strike Plaintiff’s (Late-Filed) Witness, Anet Perez (“Motion

   to Strike”) filed by Defendants Beatriz Muse, Lazaro Muse, Noel Santos (the “Muse Family”), and

   Medical Wellness Services, Inc. (“Medical Wellness”) (collectively the “Muse Defendants”) [ECF

   No. 254] and in support state:

  I.          INTRODUCTION & BACKGROUND

              On June 27, 2019, the Muse Defendants supplemented their initial disclosures to include

   Anet Perez as an individual likely to have discoverable information. See [ECF No. 122], Muse

   Defendants’ Supplemental Initial Disclosure Statement. It was from this day, at the latest, that the



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   Muse Defendants were aware of Ms. Perez and the knowledge she would have regarding the

   allegations made by the State Farm Defendants and any possible defenses available to the Muse

   Defendants.

           The extent of Ms. Perez’ knowledge was completely unknown to the State Farm Plaintiffs

   when this case was filed in August 2018 and remained unknown to the State Farm Plaintiffs until

   deposition discovery began in June 2019. During the course of deposition discovery, various

   witnesses described Ms. Perez’s involvement in assisting the clinic defendants in obtaining their

   clinic licenses. For example, on June 17, 2019 Defendant Noel Santos, the owner of Defendant

   Medical Wellness, testified that he relied on Ms. Perez to help him complete the applications

   required by Florida’s Agency for Health Care Administration. See [ECF No. 171], N. Santos Dep.

   at Vol I, 67: 9-68: 13. Approximately a week after Mr. Santos described Ms. Perez’ critical role

   in Medical Wellness’ licensure, the Muse Defendants supplemented their Initial Disclosures

   identifying Ms. Perez as an individual with knowledge “Information regarding her assistance to

   Noel Santos in obtaining AHCA license for Medical Wellness Services and occasional consulting

   advice to Noel Santos and/or Medical Wellness Services to ensure compliance with relevant

   regulations to their business activities.” See [ECF No. 122], Muse Defendants’ First Supplement

   to Initial Disclosure Statement.

           As a result of the Muse Defendants’ supplemented initial disclosures and the testimony

   elicited at the depositions of witnesses like Noel Santos, the State Farm Plaintiffs set Ms. Perez for

   deposition on August 14, 2019.        During her deposition, Ms. Perez testified regarding her

   significant role in obtaining AHCA licensure for the Muse Clinics. Notably, at the conclusion of

   the State Farm Plaintiffs’ counsel’s questioning of Ms. Perez on August 14, 2019, counsel for the

   Muse Defendants proceeded to question her for nearly two hours.



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           In an abundance of caution, although not necessary, on December 18, 2019, the State Farm

   Plaintiffs supplemented their initial disclosures to include Anet Perez. See Exhibit 1, Pls.’

   December 18, 2019 Supplemental Initial Disclosure Statement. On December 19, 2019, the Muse

   Defendants filed their Motion to Strike Anet Perez as a trial witness, based on their belief that the

   disclosure was untimely. See [ECF No. 245], Defs.’ Mot. to Strike Plaintiff’s (Late-Filed)

   Witness, Anet Perez.

           The Muse Defendants’ Motion to Strike should be denied because (1) the State Farm

   Plaintiffs had no obligation to supplement their Initial Disclosures and (2) even if they did, the

   Muse Defendants were aware of the existence of Anet Perez and the subject matter of her

   knowledge as it relates to the claims and defenses asserted, so the disclosure was harmless.

   II.     ARGUMENT

           A.     THE STATE FARM PLAINTIFFS HAD NO OBLIGATION TO SUPPLEMENT THEIR
                  INITIAL DISCLOSURES THEREFORE THE DISCLOSURE CANNOT BE UNTIMELY.

           Pursuant to Rule 26, a party has an affirmative and continuing obligation to disclose all

   individuals likely to have discoverable information along with the subjects of that information,

   and must supplement or amend its disclosures if they are incomplete or incorrect. Fed. R. Civ. P.

   26(a)(1), 26(e)(1). However, Rule 26(e)(1)(A) only requires “[a] party who has made a disclosure

   under Rule 26(a) ... [to] supplement or correct its disclosure or response ... if the additional or

   corrective information has not otherwise been made known to the other parties during the

   discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A). Similarly, the Advisory Committee

   notes state there is “no obligation to provide supplemental or corrective information that has been

   otherwise made known to the parties in writing or during the discovery process.” Fed. R. Civ. P.

   26(e), Advisory Committee’s note.




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           Judge Rosenbaum considered this issue in Burden v. Cty. of Opa Locka, No. 11-22018-

   CIV, 2012 WL 4764592, at *7 (S.D. Fla. Oct. 7, 2012). In Burden, the court considered, for

   purposes of summary judgment, the affidavits of two of the defendant’s witnesses who were not

   disclosed in a timely manner because the witnesses were already listed on Plaintiff’s witness list

   months prior to the deadline. Id. The court held that “to the extent that [p]laintiffs themselves

   intended to call these witnesses during trial, any claims of surprise that [d]efendant would rely

   upon their testimony . . . are entirely without merit. Id. The court further reasoned that the

   plaintiffs could not “credibly claim that they did not have an opportunity to depose these

   individuals as to their ‘personal knowledge and other biases.’” Id. Other courts in the Southern

   District are in accord with Burden. See Matrix Health Group v. Sowersby, No. 18-61310-CIV,

   2019 WL 4929917, at *5-6 (S.D. Fla. Oct. 6, 2019) (denying defendant’s motion to strike the

   testimony of a witness, holding that although defendants failed to timely disclose a witness, the

   plaintiff could not claim to be surprised that the affiant had information relevant to the defenses

   because the witness and the relevant information was made known to the plaintiff several times

   throughout discovery, including during the deposition of plaintiff’s own 30(b)(6) witness); see

   also Cardinal Health, Inc. v. Delivery Specialists, Inc., No. 10-20555-CIV, 2011 WL 845915, at

   *5 (S.D. Fla. Mar. 8, 2011) (holding that although plaintiffs’ Rule 26 disclosure was tardy, the

   defendant was still in possession of the witness’ identity and subject of his knowledge long before

   the discovery cut-off, yet never requested the deposition, nor sought discovery related to the

   witness’ knowledge).

           Here, the facts are substantially similar to Burden. On June 27, 2019, the Muse Defendants

   identified Anet Perez as an individual who had knowledge of “Information regarding her assistance

   to Noel Santos in obtaining AHCA license for Medical Wellness Services and occasional



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   consulting advice to Noel Santos and/or Medical Wellness Services to ensure compliance with

   relevant regulations to their business activities.” See [ECF No. 122]. Additionally, counsel for

   the Muse Defendants attended the deposition of Anet Perez on August 14, 2019 set by the State

   Farm Plaintiffs. Following the conclusion of the State Farm Plaintiffs’ questioning of Ms. Perez,

   counsel for the Muse Defendants then questioned her for almost two hours regarding her

   knowledge of the facts pertinent to this case. To now claim, six months after identifying Ms. Perez

   on their Supplemental Initial Disclosures as an individual with discoverable information, that Ms.

   Perez should be struck as a trial witness, is preposterous. Having attended her deposition and

   disclosed her as a potential witness themselves, neither the identity of Ms. Perez nor the substance

   of her knowledge can come as a surprise to the Muse Defendants. As in Burden, because the Muse

   Defendants themselves listed Anet Perez on their Supplement to Initial Disclosure Statement, any

   claim of surprise, is without merit.

           Accordingly, this Court should deny the Muse Defendants’ Motion to Strike Anet Perez.

           B.     ANY UNTIMELY DISCLOSURE OF ANET PEREZ WAS HARMLESS.

           The State Farm Plaintiffs had no obligation to disclose Anet Perez on their Initial

   Disclosures, nor did they have a subsequent duty to supplement their disclosures to include her.

   However, even if they did have an obligation to supplement their initial disclosures, any late

   disclosure was harmless. Under Florida law, “[i]f a party fails to provide information or identify

   a witness as required by Rule 26(a) or (e), the party is not allowed to use that information or

   witness to supply evidence on a motion, at a hearing, or at a trial, unless the failure was

   substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see Coach, Inc. v. Visitors Flea

   Mkt., LLC, 6:11-cv-1905, 2014 WL 631694, at *2 (M.D. Fla. Feb. 18, 2014) (quoting Dyett v. N.

   Broward Hosp. Dist., No. 03–60804–CIV, 2004 WL 5320630, at *2 (S.D. Fla. Jan. 21, 2004))



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   (“the sanction of exclusion is automatic and mandatory unless the sanctioned party can show that

   its violation of Rule 26(a) was either justified or harmless.”).

           In their Motion to Strike, the Muse Defendants fail to cite any case law in support of their

   position, nor do they claim they would be prejudiced in any way if Ms. Perez was allowed to testify

   as a trial witness. In evaluating whether the failure to disclose a witness is harmless, courts in this

   circuit consider: “(1) the importance of the testimony; (2) the reason for the [party’s] failure to

   disclose the witness earlier; and (3) the prejudice to the opposing party if the witness had been

   allowed to testify. Debose, 2009 WL 1410348, at *4 (quoting Bearint ex rel. Bearint v. Dorell

   Juvenile Grp., Inc., 389 F.3d 1339, 1353 (11th Cir. 2004)). Furthermore, “[t]he party failing to

   comply with Rule 26 bears the burden of showing that its actions were substantially justified or

   harmless.” Nat. Union Fire Ins. Co. of Pittsburgh v. Tyco Integrated Security, LLC, No. 13-CIV-

   80371, 2015 WL 1121736, at *1 (S.D. Fla. July 29, 2015).

           As to the first factor, Ms. Perez played a significant role in the scheme alleged by the State

   Farm Plaintiffs by assisting Noel Santos in obtaining an AHCA license for Medical Wellness

   Services and occasional consulting advice to Noel Santos and/or Medical Wellness Services to

   ensure compliance with relevant regulations to their business activities. These issues are critical

   to the State Farm Plaintiffs’ claims. Additionally, the Muse Defendants concede the importance

   of this testimony by virtue of their June 2019 disclosure. Second, the State Farm Plaintiffs did not

   identify Ms. Perez on their Initial Disclosures because they had no obligation to do so. In

   accordance with Rule 26(e), a party has a duty to supplement its initial disclosures only “if the

   additional or corrective information has not otherwise been made known to the other parties

   during the discovery process or in writing.” Fed. R. Civ. P. 26(e)(1)(A) (emphasis added).

   Furthermore, and most importantly, the Muse Defendants will suffer no prejudice if this Court



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   refuses to strike Ms. Perez as a witness. Therefore, any late disclosure of Anet Perez by the State

   Farm Plaintiffs was harmless because the Muse Defendants suffered no prejudice. “Prejudice

   generally occurs when late disclosure deprives the opposing party of a meaningful opportunity to

   perform discovery and depositions related to the documents or witnesses in question.” Bowe v.

   Pub. Storage, 106 F. Supp. 3d 1252, 1260 (S.D. Fla. 2015) (quoting Berryman–Dages v. City of

   Gainesville Fla., No. 1:10cv177–MP–GRJ, 2012 WL 1130074, at *2 (N.D. Fla. Apr. 4, 2012)).

   Important testimony should not be excluded absent some showing of prejudice. Burden v. Cty. of

   Opa Locka, No. 11-22018-CIV, 2012 WL 4764592, at *7 (S.D. Fla. Oct. 7, 2012); see also Great

   Am. Assur. Co., 2012 WL 3860429 at *2 (denying Motion to Strike, finding that defendants were

   put on notice of the affiant and the subject matter of his knowledge, therefore, the probative value

   outweighed the prejudice, if any); see also Rodriguez v. Estero Fire Rescue, No. 2:13-cv-452-

   FTM-29, 2014 WL 3908165, at *3 (M.D. Fla. Aug. 11, 2014) (declining to impose sanctions, and

   finding the late disclosure harmless because the plaintiff “knew of the witnesses and that they had

   relevant knowledge because she listed them in her own disclosures beginning several months prior

   to the close of discovery.”)

           In Great Am. Assur. Co., the court found the opposing party was on notice of the affiant

   and his potential knowledge because the opposing party already disclosed him as a witness and his

   knowledge had been elicited during a deposition. Id. In Great Am. Assur. Co., the plaintiffs argued

   defendants cannot exclude a witness whose relevance defendants were already aware of. Id. at *1.

   The court agreed and found that because the defendants had been put on notice of the affiant and

   his knowledge, the prejudicial impact, if any, was outweighed by the probative value of the

   testimony and denied the Motion to Strike. Id. at *2.




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           Here, the Muse Defendants were well aware of Anet Perez’ relevance to this case because

   the Muse Defendants disclosed and deposed Anet Perez. At Ms. Perez’ deposition, the Muse

   Defendants had ample opportunity to ascertain the scope of Ms. Perez’s knowledge. Essentially,

   as of their June 2019 supplemental disclosures, and certainly by the date of her deposition, the

   Muse Defendants possessed exactly the information required by to be disclosed by Rule 26, i.e.,

   the relevant information Ms. Perez had to offer. Analogous to the defendants in Great Am. Assur.

   Co., the Muse Defendants have suffered no prejudice because they knew of Anet Perez and had

   ascertained the scope of her knowledge.

           Even if this Court determines the State Farm Plaintiffs had a duty to supplement their initial

   disclosures, the Muse Defendants have suffered no prejudice as a result of the late disclosure, and

   as such, their Motion to Strike should be denied.

   III.    CONCLUSION

           For the foregoing reasons, the Court should deny the Muse Defendants’ Motion to Strike

   Anet Perez as a trial witness.

   Dated: January 2, 2019                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

           I hereby certify that on January 2, 2019, I electronically filed the foregoing document with

   the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served

   this day on all counsel of record identified on the attached Service List in the manner specified,

   either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

   authorized manner for those counsel or parties who are not authorized to receive electronically

   Notices of Electronic Filing.

                                                 /s/ David I. Spector
                                                 DAVID I. SPECTOR
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